       Case 1:14-cv-00140-TSC Document 141-1 Filed 10/29/20 Page 1 of 16




                     IN THE UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF COLUMBIA

MELVIN BROWN,                                 )
                                              )
       Plaintiff,                             )
                                              )
                                              )
       v.                                     )       Case No: 14-00140 (TSC)
                                              )
                                              )
SANDRA HILL, et al.,                          )
                                              )
       Defendants.                            )

       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
      PLAINTIFF MELVIN BROWN’S MOTION TO RECONSIDER ORDER
 DISMISSING DEFENDANTS AMELIA VILLARUZ, DAVID WALKER, SO OTHERS
         MIGHT EAT (“SOME”) AND THE DISTRICT OF COLUMBIA

       On October 15, 2020, this Court entered its Memorandum and Order (“Memorandum”)

dismissing numerous counts against defendants Amelia Villaruz, David Walker, SOME and the

District of Columbia. The Court’s order, however, misapprehended or did not consider facts and

arguments that are a part of the record and/or the Fourth Amended Complaint. This results in

clear error by the Court thus compelling its reconsideration of its order.

       a) According to precedence on reading pro se pleadings subsequent pleadings to an

original complaint must be read as part of, or supplemental to, the original complaint. All three

pleadings in this early stage were filed pro se. Mr. Brown first filed his complaint within the

limitations period on December 11, 2013. Dkt. Entry 1, attached hereto as Exh. A. In his first

amendment to this complaint Mr. Brown identified Amelia Villaruz as the official and physician

responsible for his continued involuntary commitment at CPEP and, more importantly, his forced

medication while at that facility. See Amended Compl., Dkt. Entry# 13 at p. 7, attached hereto as

Exh. B. These allegations were further elaborated on with more specific details in his Second



                                                  1
       Case 1:14-cv-00140-TSC Document 141-1 Filed 10/29/20 Page 2 of 16




Amended Complaint Second Amended Compl. Dkt. Entry #47 at pp.17-22, attached hereto as

Exh. C. In its Memorandum dismissing Villaruz from the complaint, however, this Court did not

address these specific allegations contained in the early pleadings as well the text of Mr. Brown’s

opposition to Dr. Villaruz’s Motion to Dismiss the Complaint in which he articulated the

standard that required that all pleadings must be considered.

        The Memorandum only addresses a limited portion of the pleadings and was contrary to

how pro se pleadings must be viewed. Under Fed. R. Civ. P. 15(c) and the liberal reading

afforded pro se pleadings, the Court was required to look at all pleadings in concert. This would

treat the Amended Complaint and Second Amended Complaint as supplemental to the original

filing thus adopting the initial filing date. Not treating the Amended Complaint as supplemental

to the first filing is clear error. It was further error not to consider the Second Amended

Complaint as a further continuation of the first two.

        b) Next, the Court’s dismissal of both the District of Columbia and SOME is also clear

error that does not recognize the record. Under Fed R. Civ. P. 8(a), a complaint must contain " a

short and plain statement of the claim showing that the pleader is entitled to relief . . . ." Fed. R.

Civ .P. 8(a)(2). For a complaint to be sufficient it must”… give the defendant fair notice of what

the claim is and the grounds upon which it rests." Bell A. Corp. v. Twombly, 550 U.S. 544, 555

(2007) (internal quotations and citation omitted). Nothing more is required.

        On numerous occasions within the specific factual allegations the Fourth Amended

Complaint recites specific facts directed against and identifying both the District of Columbia

and SOME as entities and defendants within the cause of action. Both were given more than

sufficient notice of the claims raised against them. Indeed, both parties were served with process.

And in prior rulings, this Court granted its leave to have the parties served with process. Given


                                                   2
       Case 1:14-cv-00140-TSC Document 141-1 Filed 10/29/20 Page 3 of 16




these circumstances, it is inconsistent to conclude that somehow the District of Columbia and

SOME were not identified as defendants in this case. This conclusion reached by the Court was

clear error.

        c) This Court should reconsider its order granting Defendant David Walker’s motion to

dismiss the Complaint. In its Memorandum, the Court failed to address whether the “Privacy

Rule” contained in HIPAA created an independent right to privacy that would be cognizable

under 42 U.S.C. 1983. See Health Information Portability and Accountability Act, 42 U.S.C.

1320d-6, 45 CFR 160 & 164 (“HIPAA”). The Court limited its ruling to denying any implied

private right of action under HIPAA. The theories and analysis are separate and distinct. And any

fair reading of HIPAA and its attendant regulatory regime would result in finding that a

protected right cognizable under 42 U.S.C. 1983 was created by this statute.

        d) And last, the court committed “clear error” by dismissing Count V of the Fourth

Amended Complaint. In this Count Plaintiff Melvin Brown alleged that defendant David Walker

along with employees of Green Door and SOME violated statutes that were enacted for the

purpose of protecting the rights of a class of persons that included Melvin Brown. Because Mr.

Brown is member of the protected class, it can be easily inferred that he was placed in the zone

of danger by the per se negligence of the defendants. The factual allegations more than meet the

notice pleading standard of Fed. R. Civ. P. 8(a).

                                            ARGUMENT

                                       Standard to be Applied

        Under Federal Rule of Civil Procedure Rule 54(b), “any order . . . that adjudicates fewer

than all the claims or the rights and liabilities of fewer than all the parties . . . may be revised at

any time before the entry of a judgment adjudicating all the claims and all the parties' rights and



                                                    3
       Case 1:14-cv-00140-TSC Document 141-1 Filed 10/29/20 Page 4 of 16




liabilities.” Fed. R. Civ. P. 54(b). Dunlap v. Presidential Advisory Comm'n on Election Integrity,

Civil Action No. 17cv2361 (CKK), 2018 WL 3150217, at *4 (D.D.C. June 27, 2018) (citation

omitted). A Fed. R. Civ. P. 54(b) motion should be granted “as justice requires.” Coulibaly v.

Tillerson, 278 F.Supp.3d 294, 301 (D.D.C. 2017) (Contreras, J.); United States v. Dynamic

Visions, Inc.,321 F.Supp.3d 14, 17 (D.D.C. 2017) (Kollar-Kotelly, J.); Singh v. George

Washington Univ., 383 F.Supp.2d 99, 101 (D.D.C. 2005) (Lamberth, J.) (quoting Cobell v.

Norton, 224 F.R.D. 266, 272 (D.D.C. 2004) (Lamberth, J.)). The proponent carries the burden of

proving “that some harm, legal or at least tangible, would flow from a denial of reconsideration,

” and accordingly persuading the Court that in order to vindicate justice it must reconsider its

decision.” Dynamic Visions, Inc., 321 F.R.D. at 17 (quoting Cobell, 355 F.Supp.2d at 540)

(internal quotation marks omitted). “In general, a court will grant a motion for reconsideration of

an interlocutory order only when the movant demonstrates: ‘(1) an intervening change in the law;

(2) the discovery of new evidence not previously available; or (3) a clear error in the first

order.” Zeigler v. Potter,555 F.Supp.2d 126, 129 (D.D.C. 2008) (quoting Keystone Tobacco Co.,

Inc. v. U.S. Tobacco Co., 217 F.R.D. 235, 237 (D.D.C. 2003)), aff'd No. 09-5349, 2010 WL

1632965 (D.C. Cir. Apr. 1, 2010).

       As contrasted with Fed. R. Civ. P. 59(e), “clear error” within Fed. R. Civ. P. 54(b) allows

for the revision of interlocutory orders at any time before entry of a judgment that adjudicates all

claims before the court. While 59(e) sets a high threshold for reconsideration, reconsideration

under Fed R. Civ. P. 54 (b) is a “more flexible” standard that allows revisions to an order “as

justice requires.” Schvartser v. Lesker, 18-473 (JDB)(D.D.C. 2019) citing Scahill v. District of

Columbia, 286 F.Supp.3d 12, 17 (D.D.C. 2017) (discussing the differences between Rule 59(e)

and Rule54(b)). )). “Justice may require reconsideration ‘where a court has “patently


                                                  4
       Case 1:14-cv-00140-TSC Document 141-1 Filed 10/29/20 Page 5 of 16




misunderstood a party[, ] . . . has made an error not of reasoning but of apprehension, or where a

controlling or significant change in the law or facts [has occurred] since the submission of the

issue to the Court.”'” Id. at 17-18 (alterations in original) (citations omitted); see Singh v. George

Wash. U.,383 F.Supp.2d 99, 101 (D.D.C. 2005)(“Errors of apprehension may include a Court's

failure to consider ‘controlling decisions . . . that might reasonably be expected to alter the

conclusion reached by the court.'” (citation omitted)).

       A) The Court should reconsider its order granting Amelia Villaruz’s Motion to Dismiss
          and deny this motion.

       Applying this standard to the dismissal of defendant Amelia Villaruz, this Court must

revisit its order and deny Dr. Villaruz’s motion. Contrary to the Court’s reading of the record, in

his Amended Complaint Plaintiff Melvin Brown detailed Dr. Villaruz’s conduct that included an

inadequate examination that resulted in his involuntary commitment and the ordering of forced

and involuntary medication. The Court misapprehended Mr. Brown’s argument that these

allegations must be included as a supplement to his original pleading because of his pro se status.

This is especially the case when considered with the seriousness of the allegations and alleged

harms. Because of the equities at play, the relaxed pleading standards for pro se plaintiffs and the

rules articulated under Fed. R. Civ. P. 15(c), this Court must allow the claims against Amelia

Villaruz to move forward.

       In its Memorandum the Court took a truncated view of the record that failed to recognize

all that was alleged by Mr. Brown in the early stages of this litigation. Perhaps misapprehending

the argument, the order simply recites limited facts that on their face should have been enough to

have put the District and Dr. Villaruz on notice of potential litigation. The Court stated:

       Only a strained reading supports Plaintiff’s position that the proposed Fourth Amended
       Complaint asserts a claim against Villaruz that was apparent in the original Complaint.
       The original Complaint challenged Plaintiff’s placement at CPEP, his involuntary

                                                  5
       Case 1:14-cv-00140-TSC Document 141-1 Filed 10/29/20 Page 6 of 16




       hospitalization, and the means by which Defendants allegedly effected his detention.
       Nothing in the paragraph cited above reasonably can be construed as raising or
       attempting to raise a claim about a standard of care or the events which occurred during
       Plaintiff’s stay at CPEP and PIW.

Memorandum at p. 23. This does not mention or account for the principles of equitable tolling

within the context of Fed. R. Civ. P. 15(c) articulated by Mr. Brown in his opposition and those

additional facts that detail theories of liability alleged against Dr. Villaruz in the Amended

Complaint and his later Second Amended Complaint.

       As argued in the context of pro se pleadings, Mr. Brown relied on clear case law that

holds’ that both the complaint and subsequent amended complaints must be considered as one

pleading filed within the tolling period. Mr. Brown, in opposing Dr. Villaruz’s Motion to

Dismiss the Fourth Amended Complaint, argued:

       Overarching this analysis are the less stringent pleading standards applied to pro se
       litigants. See Ford v. Donovan, 891 F.Supp.2d 60, 62 (D.D.C. 2012) (While an amended
       complaint generally supersedes the original, the court, mindful of Plaintiff's pro se status,
       will instead consider his pleadings collectively). In circumstances such as those now
       before the Court when dealing with pro se pleadings a subsequent pleading is considered
       as supplementing its predecessor pleading. Ford, Id. citing Kim v. United States, 840
       F.Supp.2d 180, 185 (D.D.C. 2012) (citing, inter alia, Richardson v. United States, 193
       F.3d 545, 548 (D.C. Cir. 1999)) (noting that "where a pro se party has filed multiple
       submissions, the district court must generally consider those filings together and as a
       whole"), aff'd, 707 F.3d 335 (D.C. Cir. 2013)("Instead of superseding his original
       Complaint, as a typical Amended Complaint does, this later pleading supplements it.
       Given his pro se status, the Court will treat the combined pleadings as one joint
       Complaint.").

Opp. to Mot. to Mot. to Dismiss Villaruz, Dkt. Entry# 133 at pp. 5-7.

       If read as a continuation of the first complaint (Original Complaint, Dkt. Entry 1, Exh. A)

as argued by Mr. Brown in his opposition, the combined pleadings allege far more than what was

relied on by the Court in dismissing the Fourth Amended Complaint. First, page 7 of Mr.

Brown’s pro se Amended Complaint alleges Villaruz as a defendant and defines her culpability

for his involuntary commitment and, more importantly, her ordering his forced medication

                                                  6
       Case 1:14-cv-00140-TSC Document 141-1 Filed 10/29/20 Page 7 of 16




without a court order or other legal basis. See Dkt. Entry 3 at p. 7, Exh. B. This was enough to

bring Dr. Villaruz in the lawsuit under Fed R. Civ. P. 15 (c). Later, pages 17 to 22 of Mr.

Brown’s Second Amended Complaint, again filed pro se, are devoted to Dr. Villaruz’s improper

conduct and violations of a standard of care and egregious constitutional violations. Dkt. Entry #

47 at pp. 17-22, Exh. C. After identifying Amelia Villaruz a second time as the responsible

party, Mr. Brown complained that she only “rehashed” the statements in the FD 12 without

conducting an independent examination. Id at 17-18. In this same statement, Mr. Brown

articulated a standard of care as it related to his involuntary commitment. Id. Mr. Brown states

that involuntary commitment was ordered despite the lack of any symptoms of “manic, bi-polar

or schizo disorder.” Id at 18. In this same allegation Mr. Brown states that Dr. Villaruz ordered

two male assistants to restrain him while he was injected with Geodon and Ativan without any

court order. Id at p. 18. Further on, Mr. Brown complained that any report or opinion that he was

a danger to himself or others was based on rehashed information of which Dr. Villaruz made no

effort to verify any statements or reports. Id at p. 20.1



        1
         These same allegations found in the amended complaint are furthered in the Fourth
Amended Complaint. In the Fourth Amended Complaint Mr. Brown alleges that Dr. Villaruz
continued her notes to his medical record by describing him as continuing to be belligerent and
refusing medication. She further wrote that Mr. Brown lacked insight into his mental illness, was
delusional and grandiose. See Pl.’s Fourth Amended Compl. at para. 38. There was no indication,
however, of homicidal or suicidal ideation or behavior that posed a threat to himself or others. Id.
Because of his refusal of medication and the other described behavior, Dr. Villaruz decided to
force medication on Plaintiff. Id. Plaintiff further alleges that “…In a nursing assessment that
followed his entry into CPEP, Plaintiff was again described as cooperative (emphasis added)
though with pressured speech, angry mood, labile, or changing, affect, with disorganized thought
and delusional. Pl.’s Fourth Amended Compl. at para. 39. Again, the nursing notes indicate the
absence of any suicidal or homicidal ideation or behavior that posed a threat to himself or others.
Id. As described by Mr. Brown in his complaint, he alleges that “[he] was forcibly medicated at
CPEP with Geodon and Ativan, two psychotropic drugs. Plaintiff alleges that he was standing at
the nurses’ station speaking with staff when two men came behind him, restrained him, and
injected Plaintiff with the medications. These medications made Plaintiff feel drowsy and on the
verge of going to sleep. He could not talk or think and felt like a zombie.” Pl.’s Fourth Amended
                                                   7
       Case 1:14-cv-00140-TSC Document 141-1 Filed 10/29/20 Page 8 of 16




       If considered together, the allegations in Mr. Brown’s Complaint, Amended Complaint,

and Second Amended Complaint, all filed pro se, raise violations of a standard of care and

important serious constitutional violations. They identified Dr. Villaruz as the party responsible

for both his continued detention and the illegal, forced medication. Indeed, the pro se Complaint

and pro se Amended Complaint suffice to provide adequate notice of the lawsuit and legal

liability within Fed. R. Civ. P. 15 (c). The Second Amended Complaint, also filed pro se, further

supplements the original pleadings. All must be considered together, precluding dismissal of

Villaruz from the Fourth Amended Complaint.

       The harm from the dismissal of Villaruz is obvious. The order would release defendant

Villaruz from any accountability for what any reasonable person would consider egregious

violations of constitutional rights and norms. The gravity and clarity of the allegations are

persuasive and militate for equitable tolling within Fed R. Civ. P. 15(c). It was egregious for Dr.

Villaruz to commit Mr. Brown over his objections without first completing a full examination. It

was even more egregious to restrain and forcibly medicate Mr. Brown without legal process and

justification. Both are serious constitutional violations that would escape redress should the

Court not revisit its order. The equities of harm weigh heavily in favor of Plaintiff Melvin

Brown. The Court should therefore vacate its order dismissing Amelia Villaruz and order her to

answer the complaint.

       B) The Defendants District of Columbia and So Others Might Eat (“SOME”) were
          specifically identified in the Fourth Amended Complaint as to each allegation and
          theory raised against them and served with process. Thus, any idea that they were not
          identified in the complaint or given adequate notice of the complaint is baseless. The
          record more than meets the notice pleading standards applied in federal courts.


Compl. at para 40. Plaintiff’s objective conduct while at CPEP does not meet the Harper criteria
for involuntary medication and certainly does not meet a clear and convincing evidence standard,
proving an imminent danger to himself or others.

                                                 8
       Case 1:14-cv-00140-TSC Document 141-1 Filed 10/29/20 Page 9 of 16




        Contrary to the Court’ ruling that would require a formulaic pleading format that would

list each defendant, “[n]otice pleading” is all that is required for initiating a lawsuit against a

party. Under this forgiving standard, the only requirement is that the "allegations give [the

defendant] fair notice of what petitioner's claims are and the grounds upon which they rest." Fed.

R. Civ. P. 8(a). Id. at 514; see also Hill v. Bd. of Trs. of the Univ. of the D.C, 146 F.Supp.3d 178,

184-85 (D.D.C. 2015) (observing with respect to discrimination claims that the requirement that

a plaintiff allege facts giving rise to a plausible entitlement to relief is not a heavy burden and

"the factual detail required to survive a motion to dismiss can be quite limited") (citing cases).

Indeed, recent opinions have done little to alter the fundamental principles behind notice

pleading. For instance, the D.C. Circuit has interpreted Bell Atlantic Corp. Twombly, 550 U.S.

544 (2007) as "leav[ing] the long-standing fundamentals of notice pleading intact." Tooley v.

Napolitano, 556 F.3d 836 (D.C. Cir. 2009) citing Aktieselskabet Af 21 v. Fame Jeans, 525 F.3d

8, 15 & n.3 (D.C. Cir. 2008). Thus, under Rule 8 of the Federal Rules of Civil Procedure, "a

sufficient complaint 'contain[s] a short and plain statement of the claim showing that the pleader

is entitled to relief,' enough to give a defendant 'fair notice of the claims against him.'" Id.

(quoting Ciralsky v. CIA 355 F.3d 661at 668-70 (D.C. Cir. 2004)) (alteration in original).

"'[S]pecific facts are not necessary,' and a complaint need only give the defendant fair notice of

the claims." Aktieselskabet, 525 F.3d at 16 (quoting Erickson v. Pardus,551 U.S. 89 (2007))

(alteration in original). Aktieselskabet AF 21., 525 F.3d at 15 (D.C. Cir. 2008).

        The text of the Fourth Amended Complaint details facts and theories against both the

District of Columbia (“District”) and SOME. The allegations identify them as defendants in the

litigation while articulating the specific facts raised against both. In Count I of the Fourth

Amended Complaint, Mr. Brown identifies the District in claim consistent with Monell v. Dep’t.



                                                   9
       Case 1:14-cv-00140-TSC Document 141-1 Filed 10/29/20 Page 10 of 16




of Social Services for City of New York, 436 U.S. 658 (1978), a theory that implicates the

District. The District is identified as the defendant in the caption of the count and the text of the

allegations. See Fourth Amended Complaint, Dkt Entry #99 at p. 13 and para 51 at p. 14.

Further on the District is identified as a defendant on theories of common law respondeat

superior for the wrongdoing of its agents. In Count VI of the complaint Mr. Brown identifies the

District as the master of Amelia Villaruz in a theory of the negligent infliction of emotional

distress. See Fourth Amended Compl., Dkt. Entry #99 at p. 18. And later in Count XV of the

complaint the District is again identified on a theory of vicarious liability for the malpractice of

the Dr. Villaruz. Fourth Amended Compl., Dkt. Entry #99 at pp. 24-25. All told, the District was

given more than enough notice of the allegations raised against them and that it was a defendant

in the litigation.

        Likewise, SOME, as a corporate entity, was identified in the Fourth Amended Complaint

as a defendant. In Count X of the Fourth Amended Complaint SOME is identified as a defendant

along with its individual employees. The complaint states:

        …While acting under color law, Defendant SOME and its employees Ann Chauvin,
        Belinda Sealy and Susan Bond deprived Plaintiff of his right to due process of law by
        making false statements concerning his conduct, blocking his access to his mental health
        providers and other acts that resulted in initiating an action to have Plaintiff involuntarily
        committed and hospitalized. The defendants conduct was egregious that shocked the
        conscious and resulted in a denial of due process of law…

See Fourth Amended Complaint at Dkt. Entry# 99 at p. 21. And later in Count XII of the

complaint Mr. Brown alleged that SOME, by and through its agent, conspired to violate Mr.

Brown’ civil rights by alleging:

        …That Defendants Ann Chauvin, SOME, Laura Nichols, Green Door were contractors of
        the District Columbia acting to further the government’s interest and were therefore
        acting under color law…illegally disclosing his protected health information, falsely
        canceled medical appointment for the purpose of involuntarily committing him in
        violation of the United States Constitution…

                                                  10
      Case 1:14-cv-00140-TSC Document 141-1 Filed 10/29/20 Page 11 of 16




Fourth Amended Complaint at Dkt. Entry #99 at pp.22-23. In earlier passages in the complaint

both the District of Columbia through its agency the Department of Mental health and SOME

were identified as defendants in this case.

       Moreover, both the District and SOME were served with process and identified as

defendants to the Court who then granted leave to issue summonses and effect service of process.

The record indicates that leave was granted to issue a summons and serve the District of

Columbia on September 9, 2019 and the summons as to the District of Columbia was issued on

October 24, 2019. See Dkt. Entry # 118. Return service affidavits were filed with the Court as to

the District of Columbia Attorney General on December15, 2019, and the Mayor of the District

of Columbia on December 19, 2019. See Dkt. Entry ##’s 121 and 122.

       Robert Gerlach and John Adams, two operating officers, were served on April 13, 2015.

Dkt. Entry# 17. These defendants responded on May 11, 2015. Dkt. Entry # 22. The text of the

complaint indicates that these officers were served in their official capacities thereby binding

SOME as a defendant entity to the litigation.

       C) In granting David Walker’s motion to dismiss the complaint, the court
          misapprehended and did not address whether the “Privacy Rule” under HIPAA
          creates substantive rights that are then cognizable under 42 U.S.C. 1983. This theory
          is distinct from and does not rely on whether a private right of action is created by the
          statute. The sole determination is whether a substantial right is created by the statute.
          By the text of the statute as well as the regulations promulgated by the administering
          agency, such a right to privacy was created by HIPAA.

       In its order granting defendant David Walker’s motion to dismiss the complaint, this

Court held that 42 USC 1322(d) did not contain a private right of action for violations of its

“Privacy Rule” and that any inadvertent violation by defendant Walker did not violate

substantive due process. The Court, however, did not or determine whether the statute created

rights that can be vindicated under 42 U.S.C.1983. The distinction is clear: a separate

                                                 11
       Case 1:14-cv-00140-TSC Document 141-1 Filed 10/29/20 Page 12 of 16




determination of whether the Privacy Rule creates an independent right is required. A finding

that a private right of action is not created by statute does not end the discussion of whether a

statute creates rights. In this case a right to privacy that is cognizable under 42 U.S.C. 1983 is

created.

        In his Motion for Leave to File the Fourth Amended Complaint, Mr. Brown articulated

the distinctive theories between an implied private right of action under Health Information

Portability and Accountability Act, 42 U.S.C. 1320d-6, 45 CFR 160 & 164 (“HIPAA”) and one

predicated on rights contained within HIPAA itself filed under 42 U.S.C. 1983. See Pl.’s Mem.

For Mot. For Leave to File Fourth Amended Compl. at pp. 10-14. In this section, Mr. Brown

clarified the distinction by stating:

        “[T]he Gonzaga Court clarified the relationship between § 1983 enforceable "rights"
        analysis and implied right of action analysis. [556 U.S. 273, 283 (2002)]. The Court
        explained that "whether a statutory violation may be enforced through § 1983 is a
        different inquiry than that involved in determining whether a private right of action can
        be implied from a particular statute." Id. Namely, plaintiffs proceeding under § 1983 "do
        not have the burden of showing an intent to create a private remedy because § 1983
        generally supplies a remedy for the vindication of rights secured by federal
        statutes." Id. at 284.” Duberry v. D.C. 14 cv1258 (D.D.C. 2015).

Id at p. 11 fn.2.

        To this end, Mr. Brown further argued that what has come to be known as the “Privacy

Rule” contained within the Health Information Portability and Accountability Act, 42 U.S.C.

1320d-6, 45 CFR 160 & 164 and its regulatory regime provides an independent right to privacy

that can be brought under 42 U.S.C. 1983. Mr. Brown explained in great detail that HIPAA

meets the standards articulated in Blessing v. Freestone, 520 U.S. 329 (1997), in which the

Supreme Court delineated three factors controlling a court's determination of whether a federal

statute creates a "right" enforceable under 42 U.S.C. 1983. "First, Congress must have intended

that the provision in question benefit the plaintiff." Id. "Second, the plaintiff must demonstrate

                                                 12
      Case 1:14-cv-00140-TSC Document 141-1 Filed 10/29/20 Page 13 of 16




that the right asserted[ ] protected by the statute is not so vague and amorphous' that its

enforcement would strain judicial competence." Id. at 340-41 (citation omitted). "Third, the

statute must unambiguously impose a binding obligation on the States, " using "mandatory,

rather than precatory, terms." Id. at 341. This analysis was later refined in Gonzaga v. Doe,536

U.S. 273 (2002) in which the Court held that the statute at issue must be “unmistakabl[y]

focus[ed] on the benefitted class.” Id. at 284. “Statutes that focus on the person regulated rather

than the individuals protected create no implication of an intent to confer rights on a particular

class of persons.” Alexander v. Sandoval, 532 U.S. 273, 289 (2001). HIPAA creates such a

substantive and enforceable right to privacy of protected health information.2

       Despite Mr. Brown’s admonition that the issue of an implied private right of action and

the Blessing analysis provided above cannot be conflated, this Court did not address or even

mention the independent basis for liability under 42 U.S.C. 1983. See Pl.’s Reply to David

Walker’s Mot to Dismiss Fourth Amended Compl., Dkt. Entry# 107 at p. 13 and Memorandum

Order at p. 21. Instead, the Court limited its order dismissing the complaint as to defendant

David Walker by determining that no implied private right of action can be found within the

Privacy Rule of HIPAA. This limited ruling fails to address an important and distinctive

argument as to whether a right is created that is cognizable under a separate mechanism. The

Court thereby misapprehended an important issue in the case that requires resolution. This Court

must therefore reconsider its order dismissing the complaint as to David Walker, resolve all

issues raised in the case and deny defendant David Walker’s motion to dismiss the complaint.




2
  Mr. Brown provides a full and detailed analysis and argument in his Motion for Leave to File
Fourth Amended Complaint. Mot. For Leave to Amend Fourth Amended Complaint, Dkt. Entry#
at pp. 10-14. Mr. Brown hereby adopts and reasserts this analysis and argument herein.
                                                 13
      Case 1:14-cv-00140-TSC Document 141-1 Filed 10/29/20 Page 14 of 16




       Again, the harm from the Court’s error is clear. Without absolving defendant Walker for

his role in what was a clear violation of the law, the Court’s ruling nonetheless rejects any

accountability for his illegal actions. As part of his case, Mr. Brown further alleged that any

possible harm from the illegal disclosures was foreseeable. In short, dismissing defendant David

Walker from the complaint fails to recognize his role in what, as alleged by Mr. Brown, was a

substantial violation of his protected rights. The Court must revisit this issue, vacate its order and

allow Counts XII and XIV of the Fourth Amended Complaint to proceed.

       D) Count V of the complaint explicitly states elements meeting a theory of per se
          negligence. It would be clear error to dismiss this count based on the reasons given in
          its Memorandum Order.

       By dismissing Mr. Brown’ account that alleges the negligent infliction of emotional

distress because of a lack of notice does not account for what was alleged in the complaint and

the clarity of notice provided. The Court’s Memorandum Order states:

               A complaint must give fair notice to each defendant of the claim being asserted to
               allow him to prepare a proper response and an adequate defense. See Brown v.
               Califano, 75 F.R.D. 497, 498 (D.D.C. 1977). As drafted, Count V leaves Walker
               and the court to guess which negligence claim Plaintiff intends to bring.
               Accordingly, the court GRANTS Walker’s motion to dismiss Count V

Memorandum Order at p. 17.

       Count V of the complaint alleges:

                                           COUNT V
(Negligent Infliction of Emotional Distress Against the District of Columbia and David Walker)

       71. Plaintiff hereby incorporates paragraphs 1 through 70 by reference herein.

       72. Under 42 U.S.C. 1320 (d), Plaintiffs personal health information is protected from

unauthorized disclosure by health care providers, here DMH and Green Door, LLC.

       73. That DMH and Green Door possessed Plaintiff’s protected health information in the

form of mental health records and identifying mental health providers.

                                                 14
       Case 1:14-cv-00140-TSC Document 141-1 Filed 10/29/20 Page 15 of 16




        74. DMH and Green Door, through its employees Laura Nichols, Sarah Hochbaum and

Dana Vanzant did act with Defendant David Walker to disclose this protected health

information.

        75. The purpose of the HIPAA statute is to promote public safety and to protect persons

in Plaintiff’s position and to prevent the type harm caused here.

        76. Because of these disclosures it was foreseeable that the information was to be used

for the improper purpose of supporting Plaintiff’s wrongful detention

        77. Plaintiff suffered emotional distress and humiliation as a direct and proximate result

of Defendants’ negligence.

        78. Plaintiff therefore seeks $1 million in compensatory and punitive damages and any

other relief the Court deems appropriate.

Fourth Amended Complaint at Dkt. Entry # 99 at p. 17.

        Referring again to the notice pleading standard of Fed. R. Civ. P. 8(a), all that is required

is that the complaint allege facts sufficient to put a defendant on notice of the complained of

cause of action. As argued above, under this forgiving standard the only requirement is that the

"allegations give [the defendant] fair notice of what petitioner's claims are and the grounds upon

which they rest." Fed. R. Civ. P. 8(a). Id. at 514; see also Hill v. Bd. of Trs. of the Univ. of the

D.C, 146 F.Supp.3d 178, 184-85 (D.D.C. 2015) (observing with respect to discrimination claims

that the requirement that a plaintiff allege facts giving rise to a plausible entitlement to relief is

not a heavy burden and "the factual detail required to survive a motion to dismiss can be quite

limited") (citing cases). This standard does not require precision as to each element or specific

language that labels a theory a liability. A plaintiff only needs to allege facts that “plausibly”

make out a specific claim. Based on the factual allegations raised here defendant David Walker’s



                                                   15
      Case 1:14-cv-00140-TSC Document 141-1 Filed 10/29/20 Page 16 of 16




conduct violated a statute that was enacted to protect a class of people of which Melvin Brown is

a member. It can easily be inferred that because of his class within the statute he was well within

a zone of danger created by David Walker’s conduct. The words “zone of danger” are not

`needed. Mr. Brown pled more than enough the defeat a motion under Fed R. Civ. P. 12(b)(6).

The order dismissing this Count was “clear error.”

                                         CONCLUSION

       For the reasons stated herein, any opposition, the reply, the law, the facts and the record

herein, this Court must grant Plaintiff Melvin Brown’s Motion to Reconsider the Court’s Order

Dismissing Amelia Villaruz, David Walker, the District of Columbia and So Other Might Eat,

vacate its order, and order these defendants to answer Plaintiff Melvin Brown’s Fourth Amended

Complaint.

Respectfully submitted,

       /s/
GEORGE E. RICKMAN
DC Bar 433298
P.O. Box 21267
Kalorama Station
Washington, D.C. 20009-21267
202-258-3643
georgerick11@comcast.net
Counsel for Plaintiff




                                                16
